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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 CAMPAIGN FOR ACCOUNTABILITY,

                 Plaintiff,

        v.
                                                            No. 1:16-cv-1068 (KBJ)
 U.S. DEPARTMENT OF JUSTICE,

                 Defendant.


                                   JOINT STATUS REPORT

       This Court’s order of December 1, 2017 directed the parties to file a joint proposed

schedule for further proceedings in this matter. See ECF No. 26 at 9. The parties have conferred,

and Defendant has stated that it intends to file a renewed motion to dismiss the Amended

Complaint (ECF No. 22). Accordingly, the parties respectfully propose to proceed as follows:

       •     February 13, 2018: Defendant’s Motion to Dismiss

       •     March 6, 2018: Plaintiff’s Opposition

       •     March 20, 2018: Defendant’s Reply

       Per the Court’s order, the parties have also attached the Office of Legal Counsel’s letter

in response to Plaintiff’s original request as clarified by the Amended Complaint, along with two

opinions of the Office of Legal Counsel that the Office determined were appropriate for

discretionary release.

                                                     Respectfully submitted,

CHAD A. READLER                                       /s/ Alex Abdo
Acting Assistant Attorney General                    Alex Abdo
                                                     Jameel Jaffer
JESSIE K. LIU                                        Knight First Amendment Institute
United States Attorney                                 at Columbia University
                                                     314 Low Library
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ELIZABETH J. SHAPIRO                      535 West 116th Street
Deputy Branch Director                    New York, NY 10027
                                          (212) 854-9600
 /s/ Daniel Schwei                        alex.abdo@knightcolumbia.org
DANIEL SCHWEI
Senior Trial Counsel (N.Y. Bar)           Counsel for Plaintiff
United States Department of Justice
Civil Division, Federal Programs Branch
20 Massachusetts Ave. NW
Washington, DC 20530
Tel.:     (202) 305-8693
Fax:      (202) 616-8470
Email: daniel.s.schwei@usdoj.gov

Counsel for Defendant


January 23, 2018
